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                                          Bankruptcy Case Number: 14-16613


                                                        03088-PAE-DE-033400788




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on September 12, 2019, at 8:56 o'clock AM CDT, Eric F Malave
completed a course on personal financial management given by internet and
telephone by Debt Education and Certification Foundation, a provider approved
pursuant to 11 U.S.C. 111 to provide an instructional course concerning personal
financial management in the Eastern District of Pennsylvania.




Date:   September 12, 2019                By:      /s/Jason M Tepper


                                          Name: Jason M Tepper


                                          Title:   Counselor
